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                                        UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                NORTHERN DIVISION


    In re: SCHNEIDER, FREDERICK                                §    Case No. 9:12-bk-12175-DS
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                     AMENDED TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 06/01/2012. The
    undersigned trustee was appointed on 08/10/2016.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         187,272.53
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                 113,560.76
                            Administrative expenses                                60,230.06
                            Bank service fees                                       1,282.53
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           12,199.18
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 01/07/2013 and the deadline for filing
    governmental claims was 11/28/2012. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $12,613.63. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $12,000.00 as interim compensation and now requests the sum of $613.63, for
    a total compensation of $12,613.632. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $5.45 and now requests reimbursement for expenses of $0.00 for total
    expenses of $5.452.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 10/04/2018                                     By: /s/ Jeremy W. Faith
                                                                        Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                   Exhibit A
                                       Individual Estate Property Record and Report                                                                Page: 1

                                                        Asset Cases
Case No.:    9:12-bk-12175-DS                                                             Trustee Name:      (001380) Jeremy W. Faith
Case Name:         SCHNEIDER, FREDERICK                                                   Date Filed (f) or Converted (c): 06/01/2012 (f)
                                                                                          § 341(a) Meeting Date:       06/25/2012
For Period Ending:        10/04/2018                                                      Claims Bar Date:      01/07/2013

                                   1                              2                      3                      4                    5                  6

                           Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                          and Other Costs)

    1       12688 Santa Paula Ojai Road, Santa                 330,000.00                         0.00                                   0.00                        FA
            Paula, CA 93060-0000, Ventura County
            Entire property value: $330,000.00

    2       Cash                                                        8.50                      0.00                                   0.00                        FA

    3       Checking/Savings: JP Morgan Chase                     1,735.00                        0.00                                   0.00                        FA
            Bank

    4       Househould Goods                                      1,500.00                        0.00                                   0.00                        FA

    5       Books, Pictures and other Art Objets                12,000.00                         0.00                                   0.00                        FA

    6       Wearing Apparel (u)                                       800.00                      0.00                                   0.00                        FA

    7       Jewelry (u)                                               700.00                      0.00                                   0.00                        FA

    8       Firearms                                                  700.00                   700.00                                    0.00                        FA

    9       Int. in partnerships or joint ventures:            400,000.00                 390,668.50                             175,000.00                          FA
            Commercial Retail Property West Los
            Angeles, one-fourth Interest %

   10       Legal Malpractice Claim against Patricia                    0.00                 5,000.00                               12,272.53                        FA
            Renee Rodriguez (u)

   11       1995 Mercedes 0220, Original Category                 4,500.00                     975.00                                    0.00                        FA
            included 2000 Ford Windstar Ltd., 1987
            H.O. Motorcycle; enclosed trailer, mobile
            home. Entire property value: $4,500.00
            (u)

   12       2 Cats, dog, 4 fish, 5 hens, 3 rabbits (u)                 25.00                      0.00                                   0.00                        FA

   13       Yard & Work Tools                                         175.00                      0.00                                   0.00                        FA

   13       Assets Totals (Excluding unknown values)          $752,143.50                $397,343.50                           $187,272.53                     $0.00




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                                                        Form 1
                                                                                                                                     Exhibit A
                                    Individual Estate Property Record and Report                                                     Page: 2

                                                     Asset Cases
Case No.:   9:12-bk-12175-DS                                                   Trustee Name:      (001380) Jeremy W. Faith
Case Name:      SCHNEIDER, FREDERICK                                           Date Filed (f) or Converted (c): 06/01/2012 (f)
                                                                               § 341(a) Meeting Date:    06/25/2012
For Period Ending:     10/04/2018                                              Claims Bar Date:     01/07/2013


 Major Activities Affecting Case Closing:

                            Period ending 3/31/19: Final estate tax return submitted on 5/25/18 - waiting for prompt determination then
                            ready for TFR submission.

                            Period ending 3/31/18: An agreement was entered into and approved by the Bankruptcy Court that allowed
                            debtor’s civil counsel to pursue the malpractice action and share a portion of any recovery with the estate.
                            Trustee’s counsel cooperated with debtor’s civil counsel by responding to inquiries, discovery demands and
                            coordinating calendars to testify on several different dates set for trial. However, the malpractice case finally
                            settled (after several trial continuances) just prior to the end of March 2018. The estate is expected to receive
                            its portion of the recovery by May 2018. Case will then be ready for a new tax return and closing. Don Fife to
                            be retained on flat fee to prepare estate return. ETFR 5/18/2018.

                            Period ending 3/31/17: Chapter 7 Trustee employed counsel Michael Nicastro to advise the estate on
                            debtor’s pending malpractice action against his former counsel and failure to list such claim in his schedules.

                            Period ending 3/31/16: reopen case for new asset.

                            Period ending 3/31/15: TFR submitted 4/24/14 TFR filed 6/17/14. Hearing 7/22/14 at 10:30, TDR
                            submitted 10/6/14

                            Period ending 3/31/14: 5/6/13 Order employing accountant; Sale order 1/10/14
                            Claim #3 is late filed - Atty Nicastro to object; Objection filed 2/6/14
                            Tax return signed and mailed 2/13/14. Tax clearance 3/31/14.
                            Period ending 3/31/2013: Unexempt assset to administer - 25% interest in P'ship that owns commercial
                            property with equity on Wilshire Blvd. Hire Nicastro Piscapo as counsel, approved 10/30/2012. Obtained
                            claims bar date to determine if surplus case. Co-owners of p'ship (family of DB) have approached about buy-
                            out of estate 25% interst in p-ship, negotiating sale. Hahn Fife & Co. hired as accountants, order appvoing
                            not yet entered. Motion to convert to Chp. 13 objected to and denied.
                            _______________

 Initial Projected Date Of Final Report (TFR): 06/01/2013              Current Projected Date Of Final Report (TFR):    10/04/2018 (Actual)


                     10/04/2018                                                    /s/Jeremy W. Faith
                        Date                                                       Jeremy W. Faith




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                                                               Form 2                                                                         Exhibit B
                                                                                                                                              Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:              9:12-bk-12175-DS                                Trustee Name:                      Jeremy W. Faith (001380)
Case Name:             SCHNEIDER, FREDERICK                            Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***5938                                      Account #:                         ******2066 Checking Account
For Period Ending: 10/04/2018                                          Blanket Bond (per case limit): $5,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1          2                           3                                  4                                5                6                      7

  Trans.    Check or         Paid To / Received From      Description of Transaction          Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code       $                  $

 04/18/13     {9}        F. J. Schneider               Distribution for Partnership re       1129-000           1,400.00                                    1,400.00
                                                       Commercial Real Estate in West
                                                       Los Angeles

 04/30/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 1,390.00
                                                       Fee

 05/23/13     {9}        F. J. Schneider               Partnership proceeds                  1129-000           1,400.00                                    2,790.00

 05/31/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 2,780.00
                                                       Fee

 06/28/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 2,770.00
                                                       Fee

 07/02/13     101        International Sureties, LTD   BOND PREMIUM PAYMENT ON               2300-000                                  1.55                 2,768.45
                                                       LEDGER BALANCE AS OF
                                                       07/02/2013 FOR CASE #12-
                                                       12175

 07/16/13     {9}        F. J. Schneider               Distribution from Partnership         1129-000           1,400.00                                    4,168.45

 07/31/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 4,158.45
                                                       Fee

 08/30/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 4,148.45
                                                       Fee

 09/30/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 4,138.45
                                                       Fee

 10/31/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                 10.00                 4,128.45
                                                       Fee

 11/12/13     {9}        Schneider Properties          Proceeds for sale of 25%              1129-000         170,800.00                                  174,928.45
                                                       Partnership Interest in Schneider
                                                       Properties

 11/29/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                128.37               174,800.08
                                                       Fee

 12/31/13                Rabobank, N.A.                Bank and Technology Services          2600-000                                276.57               174,523.51
                                                       Fee

 01/07/14     102        International Sureties, LTD   BOND PREMIUM PAYMENT ON               2300-000                                 78.74               174,444.77
                                                       LEDGER BALANCE AS OF
                                                       01/07/2014 FOR CASE #12-
                                                       12175
                                                       Voided on 01/07/2014

 01/07/14     102        International Sureties, LTD   BOND PREMIUM PAYMENT ON               2300-000                                -78.74               174,523.51
                                                       LEDGER BALANCE AS OF
                                                       01/07/2014 FOR CASE #12-
                                                       12175
                                                       Voided: check issued on
                                                       01/07/2014

 01/07/14     103        International Sureties, LTD   BOND PREMIUM PAYMENT ON               2300-000                                 78.82               174,444.69
                                                       LEDGER BALANCE AS OF
                                                       01/07/2014 FOR CASE #12-
                                                       12175

 01/31/14                Rabobank, N.A.                Bank and Technology Services          2600-000                                259.32               174,185.37
                                                       Fee

 02/13/14     104        Franchise Tax Board           2013 State Income Tax                 6950-000                            1,344.00                 172,841.37

                                                                                       Page Subtotals:      $175,000.00        $2,158.63        true


{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                             ! - transaction has not been cleared
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                                                                Form 2                                                                                   Exhibit B
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                                                Cash Receipts And Disbursements Record
Case No.:                 9:12-bk-12175-DS                                    Trustee Name:                    Jeremy W. Faith (001380)
Case Name:                SCHNEIDER, FREDERICK                                Bank Name:                       Rabobank, N.A.
Taxpayer ID #:            **-***5938                                          Account #:                       ******2066 Checking Account
For Period Ending: 10/04/2018                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                              Separate Bond (if applicable): N/A
    1             2                         3                                        4                              5                      6                       7

  Trans.       Check or      Paid To / Received From             Description of Transaction        Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                            Tran. Code       $                       $

 02/28/14                 Rabobank, N.A.                      Bank and Technology Services        2600-000                                     233.83                172,607.54
                                                              Fee

 03/31/14                 Rabobank, N.A.                      Bank and Technology Services        2600-000                                     241.09                172,366.45
                                                              Fee

 07/23/14        105      Jeremy W. Faith                     Dividend paid 100.00% on            2100-000                                 12,000.00                 160,366.45
                                                              $12,000.00, Trustee
                                                              Compensation; Reference:

 07/23/14        106      Jeremy W. Faith                     Dividend paid 100.00% on $5.45,     2200-000                                       5.45                160,361.00
                                                              Trustee Expenses; Reference:

 07/23/14        107      Don Fife                            Dividend paid 100.00% on            3410-000                                  3,927.00                 156,434.00
                                                              $3,927.00, Accountant for Trustee
                                                              Fees (Other Firm); Reference:

 07/23/14        108      Don Fife                            Dividend paid 100.00% on            3420-000                                     237.20                156,196.80
                                                              $237.20, Accountant for Trustee
                                                              Expenses (Other Firm);
                                                              Reference:

 07/23/14        109      Michael N. Nicastro                 Dividend paid 100.00% on            3210-000                                 41,872.50                 114,324.30
                                                              $41,872.50, Attorney for Trustee
                                                              Fees (Other Firm); Reference:

 07/23/14        110      Michael N. Nicastro                 Dividend paid 100.00% on            3220-000                                     763.54                113,560.76
                                                              $763.54, Attorney for Trustee
                                                              Expenses (Other Firm);
                                                              Reference:

 07/23/14        111      PYOD, LLC its successors and        Final Distribution per order        7100-000                                 17,327.35                   96,233.41
                          assigns as assignee                 entered 7/23/14

 07/23/14        112      Green Tree Servicing LLC            Final Distribution per order        7100-000                                 96,233.41                        0.00
                                                              entered 7/23/14

                                                COLUMN TOTALS                                                      175,000.00             175,000.00                       $0.00
                                                      Less: Bank Transfers/CDs                                             0.00                   0.00
                                                Subtotal                                                           175,000.00             175,000.00
        true
                                                      Less: Payments to Debtors                                                                   0.00

                                                NET Receipts / Disbursements                                      $175,000.00            $175,000.00


                                                                                                                                                           false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:                 9:12-bk-12175-DS                                Trustee Name:                  Jeremy W. Faith (001380)
Case Name:                SCHNEIDER, FREDERICK                            Bank Name:                     Rabobank, N.A.
Taxpayer ID #:            **-***5938                                      Account #:                     ******2067 Checking Account
For Period Ending: 10/04/2018                                             Blanket Bond (per case limit): $5,000,000.00
                                                                          Separate Bond (if applicable): N/A
    1             2                      3                                       4                             5                     6                      7

  Trans.       Check or      Paid To / Received From          Description of Transaction     Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                      Tran. Code       $                       $

 09/04/14                 Green Tree Servicing LLC         refund of distribution payment   7100-000                                -96,233.41                  96,233.41

 09/05/14                 Green Tree Servicing LLC         Reversed Deposit 100001 1        7100-002                                 96,233.41                       0.00
                                                           refund of distribution payment

                                             COLUMN TOTALS                                                           0.00                  0.00                     $0.00
                                                   Less: Bank Transfers/CDs                                          0.00                  0.00
                                             Subtotal                                                                0.00                  0.00
        true
                                                   Less: Payments to Debtors                                                               0.00

                                             NET Receipts / Disbursements                                          $0.00                  $0.00


                                                                                                                                                    false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                 ! - transaction has not been cleared
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                                               Cash Receipts And Disbursements Record
Case No.:                 9:12-bk-12175-DS                                  Trustee Name:                     Jeremy W. Faith (001380)
Case Name:                SCHNEIDER, FREDERICK                              Bank Name:                        Rabobank, N.A.
Taxpayer ID #:            **-***5938                                        Account #:                        ******2000 Checking
For Period Ending: 10/04/2018                                               Blanket Bond (per case limit): $5,000,000.00
                                                                            Separate Bond (if applicable): N/A
    1             2                        3                                       4                               5                      6                      7

  Trans.       Check or      Paid To / Received From            Description of Transaction        Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                           Tran. Code       $                       $

 05/14/18        {10}     Patricia Rodriguez                 Settlement Payment - Malpractice    1229-000          12,272.53                                         12,272.53
                                                             Claim

 05/14/18        {10}     Patricia Rodriguez                 Settlement Distribution mal         1229-000          12,727.53                                         25,000.06
                                                             practice claim

 05/15/18        {10}     Patricia Rodriguez                 Adjust incorrect adjustment         1229-000         -12,727.53                                         12,272.53

 05/31/18                 Rabobank , NA                      Bank and Technology Services        2600-000                                     10.00                  12,262.53
                                                             Fee

 06/15/18        {10}     Adjustment                         Adjustment made to correct          1229-000          12,272.53                                         24,535.06
                                                             previous adjustment made in error

 06/15/18        {10}     Adjustment                         Adjustment of Incorrect Deposit     1229-000         -12,272.53                                         12,262.53
                                                             adjustment of 5/15/18

 06/29/18                 Rabobank, N.A.                     Bank and Technology Services        2600-000                                     17.04                  12,245.49
                                                             Fees

 07/31/18                 Rabobank, N.A.                     Bank and Technology Services        2600-000                                     18.78                  12,226.71
                                                             Fees

 08/31/18                 Rabobank, N.A.                     Bank and Technology Services        2600-000                                     18.17                  12,208.54
                                                             Fees

 09/28/18                 Rabobank, N.A.                     Bank and Technology Services        2600-000                                      9.36                  12,199.18
                                                             Fees

                                               COLUMN TOTALS                                                       12,272.53                   73.35                 $12,199.18
                                                     Less: Bank Transfers/CDs                                             0.00                  0.00
                                               Subtotal                                                            12,272.53                   73.35
        true
                                                     Less: Payments to Debtors                                                                  0.00

                                               NET Receipts / Disbursements                                       $12,272.53                  $73.35


                                                                                                                                                         false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                      ! - transaction has not been cleared
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                                                       Form 2                                                                    Exhibit B
                                                                                                                                 Page: 5
                                       Cash Receipts And Disbursements Record
Case No.:           9:12-bk-12175-DS                           Trustee Name:                     Jeremy W. Faith (001380)
Case Name:          SCHNEIDER, FREDERICK                       Bank Name:                        Rabobank, N.A.
Taxpayer ID #:      **-***5938                                 Account #:                        ******2000 Checking
For Period Ending: 10/04/2018                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A




                                                                                                  NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******2066 Checking Account                     $175,000.00        $175,000.00                     $0.00

                                 ******2067 Checking Account                             $0.00                     $0.00             $0.00

                                 ******2000 Checking                              $12,272.53                      $73.35        $12,199.18

                                                                                 $187,272.53               $175,073.35          $12,199.18




                 10/04/2018                                            /s/Jeremy W. Faith
                   Date                                                Jeremy W. Faith




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                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                Exhibit D


    Case No.: 9:12-bk-12175-DS
    Case Name: FREDERICK SCHNEIDER
    Trustee Name: Jeremy W. Faith

                                                        Balance on hand:      $                             12,199.18

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                           Claim       Allowed            Interim         Proposed
  No.                                                        Asserted       Amount           Payments           Payment
                                                                            of Claim           to Date


                                                            None


                                                    Total to be paid to secured creditors:       $                   0.00
                                                    Remaining balance:                           $              12,199.18

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total            Interim         Proposed
                                                                          Requested          Payments           Payment
                                                                                               to Date

  Trustee, Fees - Jeremy W. Faith                                           12,613.63         12,000.00           613.63
  Trustee, Expenses - Jeremy W. Faith                                              5.45              5.45              0.00
  Charges, U.S. Bankruptcy Court                                               293.00                0.00         293.00
  Bond Payments - International Sureties, LTD                                     78.82          78.82                 0.00
  Bond Payments - International Sureties, LTD                                      1.55              1.55              0.00
  Attorney for Trustee Fees (Other Firm) - Michael N. Nicastro              58,623.50         41,872.50          9,263.93
  Attorney for Trustee Expenses (Other Firm) - Michael N. Nicastro             792.16           763.54             28.62
  Accountant for Trustee Fees (Other Firm) - Don Fife                        4,927.00          3,927.00          1,000.00
  Accountant for Trustee Expenses (Other Firm) - Don Fife                      237.20           237.20                 0.00
                        Total to be paid for chapter 7 administrative expenses:                  $              11,199.18
                        Remaining balance:                                                       $               1,000.00

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total             Interim           Proposed
                                                                        Requested         Payments          Payment

                                                            None


                      Total to be paid for prior chapter administrative expenses:                $                   0.00
                      Remaining balance:                                                         $               1,000.00


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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                              Allowed Amount          Interim Payments              Proposed
  No.                                                      of Claim                   to Date              Payment

                                                         None


                                                      Total to be paid for priority claims:      $              0.00
                                                      Remaining balance:                         $          1,000.00

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $117,379.21 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 97.6 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount          Interim Payments              Proposed
  No.                                                      of Claim                   to Date              Payment

  1           PYOD, LLC its successors and                  17,909.98                17,327.35               153.50
              assigns as assignee
  2 -2        Green Tree Servicing LLC                      99,469.23                96,233.41               846.50
                          Total to be paid for timely general unsecured claims:                  $          1,000.00
                          Remaining balance:                                                     $              0.00

              Tardily filed claims of general (unsecured) creditors totaling $21,686.84 have been allowed and
      will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                                Allowed Amount         Interim Payments              Proposed
  No.                                                        of Claim                  to Date              Payment

  3           Chase Bank USA, N.A.                          21,686.84                     0.00                     0.00

                          Total to be paid for tardily filed general unsecured claims:           $                 0.00
                          Remaining balance:                                                     $                 0.00




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          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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